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                            UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

                                               )
 COLLEEN WITMER and RICHARD                    )
 WICKSTROM, Derivatively on Behalf of          )
 SCANA CORPORATION,                            )      Case No. 3:17-CV-3166-MBS
                                               )
                        Plaintiffs,            )
          vs.                                  )
                                               )
 KEVIN B. MARSH, GREGORY E.                    )
 ALIFF, JAMES A. BENNETT, JOHN                 )
 F.A.V. CECIL, SHARON A. DECKER, D.            )           CONSENT MOTION TO
 MAYBANK HAGOOD, LYNNE M.                      )           SUBSTITUTE COUNSEL
 MILLER, JAMES W. ROQUEMORE,                   )
 MACEO K. SLOAN, ALFREDO                       )
 TRUJILLO, STEPHEN A. BYRNE,                   )
 JAMES M. MICALI, HAROLD C.                    )
 STOWE and JIMMY E. ADDISON,                   )
                                               )
                        Defendants,            )
                                               )
 -and-                                         )
                                               )
 SCANA CORPORATION, a South                    )
 Carolina corporation,                         )
                                               )
                 Nominal Defendant.            )
                                               )
                                               )

         Defendants Gregory E. Aliff, James A. Bennett, John F.A.V. Cecil, Sharon A. Decker, D.

Maybank Hagood, Lynne M. Miller, Alfredo Trujillo, James W. Roquemore, Maceo K. Sloan,

James M. Micali, and Harold C. Stowe (collectively, the “Defendants”) hereby move for an Order

substituting John A. Massalon, Esquire, with the law firm of Wills, Massalon & Allen, LLC, as

counsel for Defendants, in the place of Brian A. Comer, Esquire, and Michael R. Burchstead,

Esquire, of the law firm of Collins & Lacy, PC. John R. Bielema, Esquire, Michael P.Carey,

Esquire and Barbara A. Smith, Esquire, of the law firm of Bryan Cave Leighton Paisner, LLP, will



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also remain as counsel for Defendants. Mr. Comer and Mr. Burchstead will be withdrawing as

counsel, with Mr. Massalon substituting as counsel for Defendants.

       This substitution of counsel will neither prejudice the parties nor cause undue delay in the

disposition of this matter. Defendants have informed counsel for all parties of this motion, and all

counsel and parties have indicated their consent.

WE SO MOVE AND CONSENT:


 WILLS MASSALON & ALLEN LLC                    COLLINS & LACY, PC


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                                 LYNNE M. MILLER; JAMES W.
                                 ROQUEMORE; MACEO K. SLOAN;
                                 ALFREDO TRUIJILLO; JAMES M.
                                 MICALI; AND HAROLD C. STOWE

                                 Columbia, South Carolina
                                 August 28, 2018




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